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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                Case No.

  El Palacio de los Jugos, Inc.,
  a Florida Corporation,

          Plaintiff,

  v.

  El Patio de los Jugos USA Corp.
  a Florida Corporation, and
  Yoel Hernandez, as an individual.

        Defendants.
  ________________________________/

                                             COMPLAINT

          Plaintiff El Palacio de los Jugos, Inc. (hereinafter “Plaintiff”) a Florida Corporation

  having place of business at 20 N.W. 41st Avenue, Miami, FL 33126, sues El Patio de los Jugos

  USA Corp., a Florida Corporation having place of business at 64 West 49th St, Hialeah, FL

  33012 (hereinafter “El Patio de los Jugos”), and Yoel Hernandez an individual, (collectively

  “Defendants”), and makes the following allegations:


                                PARTIES, JURISDICTION, AND VENUE

       1. Plaintiff is a Florida Corporation, with its principal place of business at 20 N.W. 41st

          Avenue, Miami, FL 33126.

       2. El Patio de los Jugos is a Florida Corporation with its principal place of business at 64

          West 49th St, Hialeah, FL 33012.

       3. Yoel Hernandez is an individual residing at 64 West 49th St, Hialeah, FL 33012.
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     4. This is an action for federal mark infringement, false description and representations, false

        designations of origin under the Lanham Act, Title 15, United States Code, Sections 1114

        and 1125(a); and the ancillary state causes of action of common law trade mark

        infringement and unfair competition.

     5. Jurisdiction of this Court arises under 28 U.S.C. Sec. 1331, 28 U.S.C. Sec. 1338, and

        under the doctrine of pendent jurisdiction over state claims arising from a common

        nucleus of operative facts.

     6. Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and (c) and §1400(b)

        because one or more of the defendants reside or can be found in this District, Defendant

        does business in this District, and/or a substantial part of the events or omissions giving

        rise to the claim occurred in this District.

                                       FACTUAL BACKGROUND

     7. Plaintiff is the owner of the mark EL PALACIO DE LOS JUGOS for restaurant services

        in International Class 043 in the United States Patent and Trademark Office. Plaintiff

        initially filed a trademark application with the United States Patent and Trademark

        Office (US Serial No. 77803991) on August 13, 2009, which later on April 13, 2010

        matured into US Registration No. 3,774,424.

     8. Plaintiff has used, and continues to use, in commerce in the United States the mark EL

        PALACIO DE LOS JUGOS for restaurant services. See Exhibit 1, corresponding to

        images of Plaintiff’s restaurant bearing Plaintiff’s mark.

     9. Plaintiff started using in commerce its trademark, EL PALACIO DE LOS JUGOS since

        at least as early as June 1st, 1989, and has used its trademark EL PALACIO DE LOS

        JUGOS continuously since June 1st, 1989 in promotional and advertising material thus



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         creating valuable goodwill for the Plaintiff’s mark. See Exhibit 2, corresponding to

         samples of articles and promotional material depicting Plaintiff’s marks.

     10. Plaintiff’s   unique   mark    is      prominently   featured   on   Plaintiff’s   website

         https://www.elpalaciodelosjugos.com , as well as its business material and marketing.

     11. Plaintiff advertises its services under the EL PALACIO DE LOS JUGOS mark online,

         through social media, at its restaurant, and physical promotional material.

     12. Plaintiff’s services under the EL PALACIO DE LOS JUGOS mark are well known by

         relevant consumers due to Plaintiff’s good reputation in the restaurant services business.

         See Exhibit 3, corresponding to Plaintiff’s services reviewed by clients.

     13. Plaintiff has expended considerable money and effort promoting its mark EL PALACIO

         DE LOS JUGOS in Florida and throughout the United States to acquire its goodwill.

     14. Upon information and belief, Defendants El Patio de los Jugos and Yoel Hernandez

         were aware of the existence of EL PALACIO DE LOS JUGOS before Defendants

         adopted the designation EL PATIO DE LOS JUGOS and nonetheless proceeded to use

         the confusingly similar designation.

     15. Upon information and belief El Patio de los Jugos and Yoel Hernandez have used the

         mark EL PATIO DE LOS JUGOS (hereinafter referred to as “Infringing Designation”) in

         commerce for restaurants services since at least as early as October 24th, 2015.

     16. On or about February 20, 2018, El Patio de los Jugos became a Florida corporation under

         the name “El Patio De Los Jugos USA Corp”. See Exhibit 4, corresponding to the records

         of when El Patio de los Jugos incorporated.




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     17. Defendants have knowingly and willfully adopted and used the Infringing Designation

        knowing about the prior existence of Plaintiff’s rights over the EL PALACIO DE LOS

        JUGOS mark.

     18. Defendants’ restaurant uses a very similar name, with similar appearance and with a

        highly similar phonetic sound and pronunciation thereby increasing the likelihood of

        confusion. See Exhibit 5, corresponding to a side by side of Plaintiff’s use of its mark EL

        PALACIO DE LOS JUGOS and Defendants use of the Infringing Designation EL PATIO

        DE LOS JUGOS.




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     19. Plaintiff has been, and will continue to be, damaged by the acts of Defendants.

        Moreover, the goodwill of EL PALACIO DE LOS JUGOS has been damaged and will

        continue to be irreparably damaged unless Defendants are enjoined from using the

        Infringing Designation.

     20. Plaintiff has objected to Defendants’ use of the confusingly similar designation, including

        by sending a cease and desist letter dated February 15th, 2019.            See Exhibit 6,

        corresponding to the cease and desist letter sent.

     21. Since at least February 15th, 2019 Defendants have intentionally infringed upon Plaintiff’s

        intellectual property rights.

     22. There is no adequate remedy at law for this irreparable harm unless an injunction is

        issued.

     23. Based upon information and belief, Defendants are all related; specifically, Yoel

        Hernandez is a Member of El Patio de los Jugos and the driving force behind the

        company. See Exhibit 4, corresponding to the records of El Patio de los Jugos articles of

        incorporation and annual reports showing Yoel Hernandez as El Patio de los Jugos’

        President.

     24. Upon information and belief, Yoel Hernandez and El Patio de los Jugos own and/or

        operate the restaurant using the Infringing Designation.




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                                    COUNT I
                  FEDERAL MARK INFRINGEMENT UNDER 15 U.S.C. 1114


  Plaintiff repeats and reincorporates the allegations set forth in Paragraphs 1 through 24, as if fully

  set forth herein.

      25. This count arises under the Section 32 of the Lanham Act, 15 U.S.C. §§ 1114, et. seq.

      26. Plaintiff owns a valid and active United States Trademark registration for its mark EL

          PALACIO DE LOS JUGOS for restaurant services. See Exhibit 7 showing Plaintiff’s

          Certificate of Registration No. 3,774,424.

      27. After Plaintiff’s use of the mark EL PALACIO DE LOS JUGOS for restaurant services

          and after Plaintiff’s Registration Date for the mark EL PALACIO DE LOS JUGOS for

          restaurant services, Defendants adopted and used in commerce the confusingly similar

          infringing mark EL PATIO DE LOS JUGOS for restaurant services.

      28. Defendants’ adoption and use of the infringing mark EL PATIO DE LOS JUGOS was

          with knowledge of Plaintiff’s EL PALACIO DE LOS JUGOS mark.

      29. Defendants’ use of the infringing mark is likely to cause confusion, mistake or to deceive

          the public as the source of Defendants’ services and/or the affiliation, connection or

          association of Defendants’ and their services with Plaintiff.

      30. Defendants’ acts constitute trademark infringement of Plaintiff’s federally registered

          marks in violation of Section 32 of the Federal Trademark Act, 15 U.S.C. § 1114 and

          such infringement is willful.

      31. As a result of the foregoing, Plaintiff has been damaged in an amount that will be

          ascertained at trial. It would be difficult to ascertain the amount of compensation which

          could afford Plaintiff adequate relief for such continuing acts.



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      32. By reason of Defendants’ acts, Defendants have caused and will continue to cause

          irreparable injury to Plaintiff and, unless enjoined by this Court, such acts will continue,

          and Plaintiff will continue to suffer irreparable injury.

      33. Plaintiff has no adequate remedy at law.

                                  COUNT II
       VIOLATION OF SECTION 43(a) OF THE LANHAM ACT (15 U.S.C. §1125(a))

  Plaintiff repeats and reincorporates the allegations contained in Paragraphs 1 through 24 above,

  as if fully set forth herein.

      34. This account arises under Section 43(a) of the Trademark Act of 1946, as amended, 15

          U.S.C. §1125(a).

      35. Defendants unauthorized use in commerce of the infringing mark constitutes a false

          designation of origin and a false association that wrongfully and falsely designates the

          services offered thereunder as originating from Plaintiff, or as being associated, affiliated

          or connected with or approved or sponsored by Plaintiff.

      36. Defendants’ activities as described above, constitute trademark infringement and false

          designation of origin, affiliation or sponsorship in violation of 15 U.S.C. § 1125(a), and

          such acts are willful.

      37. As a result of the foregoing, Plaintiff has been damaged in an amount that will be

          ascertained at trial. It would be difficult to ascertain the amount of compensation which

          could afford Plaintiff adequate relief for such continuing acts.

      38. By reason of Defendants’ acts, Defendants have caused and will continue to cause

          irreparable injury to Plaintiff and, unless restrained by this Court, such acts will

          continue, and Plaintiff will continue to suffer irreparable injury.

      39. Plaintiff has no adequate remedy at law.


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                                       COUNT III
                             COMMON LAW MARK INFRINGEMENT

  Plaintiff repeats and reincorporates the allegations contained in Paragraphs 1 through 24 above,

  as if fully set forth herein.

      40. The use and/or advertising of the Infringing Designations by Defendants is likely to cause

          confusion or mistake among purchasers as to the source and/or sponsorship of

          Defendants’ restaurant services with those of Plaintiff.

      41. Defendants’ use and/or advertising of the Infringing Designation to identify the same, or

          related services is likely to cause confusion or mistake among purchasers as to the source

          and sponsorship of the services and such acts of said Defendants constitutes common law

          infringement of Plaintiff’s Mark. The dominant portion of Plaintiff’s mark is EL

          PALACIO DE LOS JUGOS and the dominant portion of Defendants’ mark is the similar

          designation EL PATIO DE LOS JUGOS.

          WHEREFORE, Plaintiff respectfully requests this Honorable Court to grant:

                  a.       preliminary and permanent injunctive relief;

                  b.       compensatory damages and punitive damages;

                  c.       accounting and lost profits;

                  d.       and any other relief the Court deems just and proper.




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                                       COUNT IV
                             COMMON LAW UNFAIR COMPETITION

  Plaintiff repeats and reincorporates the allegations contained in Paragraphs 1 through 24 above,

  as if fully set forth herein.

      42. Plaintiff is the prior user of the EL PALACIO DE LOS JUGOS mark in the United States,

          which was in use on or before June 1st, 1989, long before any use by Defendants of the

          Infringing Designation.

      43. Plaintiff’s EL PALACIO DE LOS JUGOS mark is arbitrary and inherently distinctive and

          entitled to protection.

      44. Defendants are using, within the State of Florida, confusingly similar names and brands

          to identify services that compete directly with those of Plaintiff.

      45. Defendants’ actions are likely to cause consumer confusion as to the source or sponsorship

          of their products.

      46. Defendants’ activities as described above constitute unfair competition under the common

          law of the State of Florida.

      47. As a result of the foregoing, Plaintiff has been damaged in an amount that will be

          ascertained at trial. It would be difficult to ascertain the amount of compensation which

          could afford Plaintiff adequate relief for such continuing acts.

      48. By reason of Defendants’ acts, Defendants have caused and will continue to cause

          irreparable injury to Plaintiff and, unless restrained by this Court, such acts will continue,

          and Plaintiff will continue to suffer irreparable injury.

      49. Plaintiff has no adequate remedy at law.




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                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

     1. That Defendants, and their officers, agents, servants, employees and attorneys and all

        persons or entities in active concert or participation with any of them who receive actual

        notice of the injunctive order, be preliminarily and permanently enjoined, from:

            a. Using, advertising, promoting, displaying, registering, applying for or

                maintaining registrations for, or exploiting in any manner, the mark or name EL

                PALACIO DE LOS JUGOS, or any other marks, designations, designs or trade

                dress confusingly similar to the Plaintiff’s registration;

            b. Committing any other acts calculated or likely to cause the public to believe that

                Defendants or their services are in any way connected, affiliated or associated

                with Plaintiff; and/or

            c. Competing unfairly with Plaintiff in any other way.

     2. Pursuant to 15 U.S.C. § 1118, that Defendants deliver to Plaintiff for destruction all

        material (including, without limitation, all products, catalogs, advertisements,

        promotional materials, brochures, signs, displays, stationery and business cards), within

        their possession, custody or control, either directly or indirectly, that bears or uses the

        infringing marks or any of them, or any other marks, designations, designs or trade dress

        confusingly similar to the Plaintiff’s registration.

     3. Pursuant to 15 U.S.C. § 1116(a), that Defendants be directed to file with the Court and

        serve upon Plaintiff within thirty (30) days after entry of final judgment, a report in

        writing and under oath setting forth in detail the manner and form by which it has

        complied with the provisions set forth in paragraphs 1 and 2 above;



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      4. Pursuant to 15 U.S.C. § 1117(a) and the common law of unfair competition, that

          Defendants be directed to account to Plaintiff for all gains, profits and advantages

          derived from Defendants’ wrongful acts;

      5. Pursuant to 15 U.S.C. § 1117(a), that Plaintiff recover from Defendants three times the

          amount of their profits or any damages sustained by Plaintiff, together with interest on

          such amount and the costs of this action;

      6. Pursuant to 15 U.S.C. § 1117(a), that Plaintiff recover from Defendants, Plaintiff’s

          attorneys’ fees and costs in this action; and

      7. That Plaintiff have such other and further relief as the Court deems just, equitable and

          proper.

                                   DEMAND FOR JURY TRIAL


  Plaintiff El Palacio de los Jugos Inc. respectfully requests a trial by jury on all issues so triable

  in accordance with Fed. R. Civ. P. 38.



  Dated: November 8, 2019                   Respectfully submitted,



                                             _/s/ Christian Sanchelima______
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                                            Sanchelima & Associates, P.A.
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                                            Miami, Florida 33134
                                            Telephone: (305) 447-1617
                                            Facsimile: (305) 445-8484
                                            Attorneys for Plaintiff




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                                                VERIFICATION

              I, Rel   I\Cl.{Ja   &nJt declare as follows:
              I am the founder and chairman of El Palacio de los Jugos. and I am authorized to make

    this verification on its behalf.

              l have read the foregoing VERIFIED COMPLAINT and l am familiar with its

    contents. The matters stated therein are true to the best of my knowledge, information, and

    belief.

              Executed on         @u{-J;et t!.�o 19 at ____________
              I declare under penalty of perjury under the laws of the United States and the State of

    Florida that the foregoing is true and correct.



                                                             El Palacio de los Jugos Inc.




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                         Exhibit 1




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                         Exhibit 2




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                         Exhibit 3




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                         Exhibit 4




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                         Exhibit 6




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                         Exhibit 7




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